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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

HECTOR MADERA, )
) Civil Action No. 3: 19-cv-0192
Petitioner, )
) Judge Kim R. Gibson
Vv. )
)
DIRECTOR OF DEPT. OF HOMELAND. ?
SECURITY / ICE,
Respondents.
MEMORANDUM OPINION

Pending before the Court is the Motion to Order Bond Hearing / Petition Under 28 U.S.C.
§ 2241 For a Writ of Habeas Corpus by a Person In Federal Custody filed by Petitioner, Hector
Madera. (ECF No. 4). The matter was referred to Chief United States Magistrate Judge Cynthia
Reed Eddy for report and recommendation in accordance with the Magistrate Judges Act, 28
U.S.C. § 636(b)(1), and Rules 72.1.3 and 72.1.4 of the Local Rules for Magistrate Judges.

The magistrate judge filed a Report and Recommendation (ECF No. 15) on April 15,
2020, recommending that the Petition for Writ of Habeas Corpus be denied without prejudice to
the filing of another petitioner should the length of Petitioner’s detention become unreasonable.
Petitioner filed timely objections to the Report and Recommendation (ECF No. 16). The matter
is now ripe for disposition. For the reasons set forth below, the Report and Recommendation
will be adopted and the petition will be dismissed.

Where, as here, objections have been filed, the court is required to make a de novo

determination about those portions of the R&R to which objections were made. See 28 U.S.C. §

636(b)(1); Fed.R.Civ.P. 72(b). The district court may accept, reject, or modify the recommended
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disposition, as well as receive further evidence or return the matter to the magistrate judge with
instructions.

The Court finds that Petitioner’s objections to not undermine the recommendation of the
Magistrate Judge. As the Report and Recommendation correctly points out, the current length of
Petitioner’s detention under § 1226(c) is not an unconstitutional application of the statute and,
therefore, he remains subject to mandatory detention.

After de novo review of the pleadings and documents in the case, together with the
Report and Recommendation, and the Objections thereto, the Petition for Writ of Habeas Corpus
will be denied without prejudice to the filing of another petition should the length of Petitioner’s
detention become unreasonable.

Federal prisoner appeals from the denial of a Section 2241 habeas proceeding are not
governed by the certificate of appealability requirement. See United States v. Cepero, 224 F.3d
256, 264-65 (3d Cir. 2000) (en banc), abrogated on other grounds by Gonzalez v. Thaler, 132
S.Ct. 641 (2012). Therefore, Petitioner need not apply for one with this Court or with the Court
of Appeals for the Third Circuit before filing an appeal from the denial of his habeas petition.

Pursuant to Federal Rule of Appellate Procedure 4(a)(1)(B), Petitioner has sixty (60) days
after judgment is entered to file a notice of appeal as provided by Rule 3 of the Federal Rules of

Appellate Procedure.

 

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DATED: May © , 2020

 

Kim R. Gibson
United States District Judge
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HECTOR MADERA
19-02044

Cambria County Prison
425 Manor Drive
Ebensburg, PA 15931

(via U.S. First Class Mail)

Karen Gal-Or
U.S. Attorney's Office
(via ECF electronic notification)
